 Case 18-64547-sms        Doc 18-1 Filed 11/16/20 Entered 11/16/20 12:38:45               Desc
                            Certificate of Service Page 1 of 4



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                          :   CHAPTER 7
                                                :
T-BIRD ENTERPRISES, LLC,                        :   CASE NO. 18-64547-SMS
                                                :
         Debtor.                                :

                                CERTIFICATE OF SERVICE

     I, S. Gregory Hays, Chapter 7 Trustee, certify that I am over the age of 18 and that on this
date, I served a copy of the foregoing NOTICE OF TRUSTEE’S FINAL REPORT AND
APPLICATIONS FOR COMPENSATION AND DEADLINE TO OBJECT (NFR) by first
class U.S. Mail, with adequate postage prepaid, on the persons or entities at the addresses stated
on the attached Exhibit “A”.

         This 16th day of November, 2020.


                                                     /s/ S. Gregory Hays
                                                    S. Gregory Hays
                                                    Chapter 7 Trustee

Hays Financial Consulting, LLC
2964 Peachtree Rd, N.W
Suite 555
Atlanta, Georgia 30305
(404) 926-0060
Case 18-64547-sms   Doc 18-1 Filed 11/16/20 Entered 11/16/20 12:38:45   Desc
                      Certificate of Service Page 2 of 4




                                Exhibit “A”
          Case 18-64547-sms   Doc 18-1 Filed 11/16/20 Entered 11/16/20 12:38:45      Desc
                                Certificate of Service Page 3 of 4
Berkley Net                       CCWSA                             Cellco Partnership
PO Box 535080                     PO Box 5000                       d/b/a Verizon Wireless
Atlanta, GA 30353-5080            Canton, GA 30114-5000             William Vermette
                                                                    22001 Loudoun County Pkwy
                                                                    Ashburn, VA 20147-6105
Collins Millwork                  Comcast Business                  Delaney Inc.
1 Johnson St                      PO Box 37601                      265 Castleberry Industrial Dr
Cartersville, GA 30120-3275       Philadelphia, PA 19101-0601       Cumming, GA 30040-9051



Doss Printing                     Dyke Enterprises, Inc.            Dyke Industries
310 E. Marietta Street            305 Crosstree Lane                6600 Best Freind Road
Canton, GA 30114-3017             Atlanta, GA 30328-1813            Norcross, GA 30071-2917



Fireside Natural Gas              GA Department of Revenue          GA Department of Revenue
PO Box 116268                     Sales and Use Tax                 Compliace Division
Atlanta, GA 30368-6268            P. O.Box 105296                   ARCS Bankruptcy
                                  Atlanta, GA 30348                 ATLANTA, GA 30345-3202


Georgia Power                     Internal Revenue Service          Internal Revenue Service
BIN#10102                         Insolvency                        P.O. Box 7346
241 Ralph McGill Blvd.            P.O. Box 7317                     Philadelphia, PA 19101-7346
Atlanta, GA 30308-3374            Philadelphia, PA 19101-7317


Joel Ebbersburger                 Kabbage                           Katherine J. Hill
106 Elm Lane                      925 B Peachtree Street NE         Hicks Hill, LLC
Ellijay, GA 30540-3500            SUite 1688                        Suite 210
                                  Atlanta, GA 30309-3918            305 Lawrence Street
                                                                    Marietta, GA 30060-2093
Klumb Lumber                      Law Offices Of                    LJ Smith
11159 Bobby Williams Pkwy         Ezra B. Jones, III                Universal Stair Part
Covington, GA 30014-1101          305 Crosstree Lane                919 Old Nelson Road
                                  Atlanta, GA 30328-1813            Nelson, GA 30151


Luke Garcia                       Madison Holdings                  Masterpro
119 Opal Court                    135 P. Rickman Ind. Drive         224 Brown Industrial Pkwy
Canton, GA 30115-8681             Canton, GA 30115-9099             Suite 101
                                                                    Canton, GA 30114-8065


Metrie Inc.                       Moss Supply                       Net Comp
40 Hopson Dr SE                   5001 North Graham St.             3800 Fenandina Road
Acworth, GA 30102-3102            Charlotte, NC 28269-4826          #210
                                                                    Columbia, SC 29210-3862


Office of the US Trustee          Pat Sherwood                      Patricia Osterhaut
362 Richard Russell Bldg          549 Coral Trace Blvd              549 Coral Trace Blvd
75 Ted Turner Drive, SW           Edgewater, FL 32132-6944          Edgewater, FL 32132-6944
Atlanta, GA 30303-3315
           Case 18-64547-sms   Doc 18-1 Filed 11/16/20 Entered 11/16/20 12:38:45    Desc
                                 Certificate of Service Page 4 of 4
Plygem Windows                     Randall Brothers Inc              Russ Gambino
5020 Westin Pkwy                   665 Marietta Street NW            201 Carrington Way
Suite 400                          Atlanta, GA 30313-2494            Canton, GA 30115-4723
Cary, NC 27513-2322


Santek Waste Services              Southern Trust Insurance          T MOBILE
PO Box 180600                      PO Box 250                        C/O American Infosource LP
College Grove, TN 37046            Macon, GA 31202-0250              4515 N SANTA FE AVE
                                                                     Oklahoma City, OK 73118-7901


T Mobile/T-Mobile USA Inc          T-Bird Enterprises, LLC           The Delaney Hardware Co.
by American InfoSource             3404 Morgan Road                  c/o Delaney Hardware
4515 N Santa Fe Ave                Canton, GA 30115-4347             P.O. Box 384
Oklahoma City, OK 73118-7901                                         Cumming, GA 30028-0384


Tim Brenner                        T-Mobile                          Tucker Doors
5087 Cumming Hwy                   P.O. Box 742596                   650 Hwy 83
Canton, GA 30115-2240              Cincinnati, OH 45274-2596         Monroe, GA 30655-5359



United States Attorney             US Lumber                         Verizon Wireless
Northern District of Georgia       3312 N Berkley Lake Rd NW         P. O. Box 660108
75 Ted Turner Drive SW             Duluth, GA 30096-3253             Dallas, TX 75266-0108
Suite 600
Atlanta, GA 30303-3309
Verizon Wireless                   Waste Services of Georgia
P.O. Box 105378                    North Atlanta
Atlanta, GA 30348-5378             PO Box 180600
                                   Chattanooga, TN 37406-7600
